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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Christopher Moehrl, et al.
                                                 Plaintiff,
v.                                                             Case No.: 1:19−cv−01610
                                                               Honorable Andrea R. Wood
The National Association of Realtors, et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 15, 2022:


        MINUTE entry before the Honorable Andrea R. Wood: Status hearing held on
9/15/2022. Parties' motion for entry of stipulation and order re: discovery limits pursuant
to Fed. R. Civ. P. 26(f) [353] is granted. Enter Order. The issues raised in the parties' joint
status report concerning Defendants' request for supplemental depositions of Plaintiffs'
experts are taken under advisement for ruling. Status report, including a schedule for
competition of outstanding discovery and filing dispositive motions, shall be filed by
10/17/2022. Telephonic status hearing set for 10/24/2022 at 11:00 AM. To ensure public
access to court proceedings, members of the public and media may call in to listen to
telephonic hearings. The call−in number is (888) 557−8511 and the access code is
3547847. Counsel of record will receive an email 30 minutes prior to the start of the
telephonic hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court−issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice. (lxk, )




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